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 1   ATTORNEY AT LAW
 2
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     Sacramento, CA. 95814
 3   Fax (916) 447-0931
 4   Attorney for Defendant
     FRANK ALIOTO
 5

 6                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8
     UNITED STATES OF AMERICA,                       )       No. CR-S-11-190 MCE
 9                                                   )
                                                     )
10            Plaintiff,                             )       STIPULATION AND ORDER EXTENDING
                                                     )       TIME TO POST
11   v.                                              )       POST PROPERTY BOND
                                                     )
12                                                   )
     FRANK ALIOTO,
                                                     )
13                                                   )
              Defendant.                             )
14                                                   )
                                                     )
15                                                   )
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17
              On May 2, 2012, the Honorable Kendall J. Newman ordered defendant Frank Alioto
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     released on a $250,000.00 unsecured bond, co-signed by the defendant’s mother, Joan Alioto, to
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     be replaced by a secured bond, secured by the real property owned by Mrs. Alioto, within two
20
     weeks.
21
              The Surety has provided the bond documents, and counsel has provided the documents to
22
     the Government. The Government needs additional time to review the documents received from
23
     the defense. Additionally, once the documents are approved the defense will need time to have
24
     the deed recorded and file the bond.
25
                      Accordingly the parties agree the deadline for posting the property bond may be
26
     extended to May 30, 2012. This office has contacted Jason Hitt of the U.S. Attorney’s Office,
27
     and he has no objection to this request.
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 1
     Dated: May 21, 2012                                /s/ John R. Manning
 2                                                      JOHN R. MANNING
                                                        Attorney for Defendant
 3                                                      Frank Alioto
 4

 5
     Dated: May 22, 2012                                Benjamin B. Wagner
 6                                                      United States Attorney
 7

 8                                                      by: /s/ Jason Hitt
                                                        JASON HITT
 9                                                      Assistant United States Attorney
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11

12
            For good cause appearing, the due date for posting of a secured property bond in this
13
     matter shall be continued to May 30, 2012.
14
     IT IS SO ORDERED.
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     Dated: May 23, 2012.
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